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Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


Eastern District of Texas

Suite 300B
660 North Central Expressway
Plano, TX 75074

                                       Bankruptcy Proceeding No.: 20−40192
                                                   Chapter: 11
                                            Judge: Brenda T. Rhoades

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Jason Klima                                               Andrea Klima
   5413 Gates Drive                                          5413 Gates Drive
   The Colony, TX 75056                                      The Colony, TX 75056
Social Security / Individual Taxpayer ID No.:
   xxx−xx−8776                                               xxx−xx−6210
Employer Tax ID / Other nos.:


PLEASE TAKE NOTICE that a hearing will be held at

Plano Bankruptcy Courtroom, 660 N. Central Expressway, Third Floor, Plano, TX 75074

on 2/4/20 at 09:29 AM

to consider and act upon the following:

Status Hearing Set (RE: related document(s)1 Chapter 11 Voluntary Petition. Hearing scheduled for 2/4/2020 at
09:29 AM at Plano Bankruptcy Courtroom. (sr)

Dated: 1/22/20

                                                            Jason K. McDonald
                                                            Clerk, U.S. Bankruptcy Court
